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                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MINNESOTA

In Re:                                                       CHAPTER 7 CASE
                                                             CASE NO. 18-40814
Justin Arthur Peterson,

                  Debtor.
___________________________________

                                 ORDER GRANTING RELIEF FROM STAY

      This case is before the court on the motion of USB Leasing LT, for relief from the
automatic stay imposed by 11 U.S.C. § 362(a).

       Based on the record, the court finds that grounds exist under 11 U.S.C. § 362(d) to
warrant relief, but that the motion is moot as to the debtor, the automatic stay having terminated
upon entry of the debtor's discharge.

         IT IS ORDERED:

         1.         The motion for relief from stay is granted as follows.

         2.         The automatic stay imposed by 11 U.S.C. § 362(a) is terminated as to the estate's
                    interest in the property such that the movant may exercise its rights and remedies
                    under applicable nonbankruptcy law with respect to the following Collateral:

                                                    2016 FORD F-150
                                               VIN: 1FTEW1EP2GKE95607

         3.         Notwithstanding Fed. R. Bankr. P. 4001(a)(3), this order is effective immediately.


   Dated: May 9, 2019
                                                           /e/ Kathleen H. Sanberg
                                                           __________________________
                                                           Chief United States Bankruptcy Judge



   NOTICE OF ELECTRONIC ENTRY AND
   FILING ORDER OR JUDGMENT
   Filed and Docket Entry made on 05/09/2019
   Lori Vosejpka, Clerk, by LH
